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                                                                                             United States Bankruptcy Court
                                                                                                 Southern District of Texas

                              UNITED STATES BANKRUPTCY COURT                                        ENTERED
                                SOUTHERN DISTRICT OF TEXAS                                      November 21, 2022
                                      HOUSTON DIVISION                                           Nathan Ochsner, Clerk


In re:                                                   §
                                                         §       Case No. 22-60043
FREE SPEECH SYSTEMS, LLC.,                               §       Chapter 11 (Subchapter V)
                                                         §
         Debtor.                                         §

         ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR ENTRY OF ORDER
         AUTHORIZING DEBTOR TO ENTER INTO FINANCIAL SERVICES AGREEMENT

         On November 14, 2022, the above-captioned debtor and debtor-in-possession (the “Debtor” or

“FSS”) in the above-captioned chapter 11 case (the “Case”), filed its Emergency Motion for Entry of Order

Authorizing Debtor to Enter into Financial Services Agreement (“Motion”) after due deliberation and

consideration and sufficient cause appearing therefor;

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         The Motion is hereby granted and the Debtor is authorized to enter into the Financial Services

Agreement with                                   . attached to the Motion.

         Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a), and the Bankruptcy Local

Rules are satisfied by such notice.

         Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order are immediately

effective and enforceable upon entry. The Debtor is authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

         This Court retains exclusive jurisdiction with respect to all matters arising from or related to the

implementation, interpretation and enforcement of this Order.

         Houston, Texas
         Dated: August ___, 2022
                   August 02,
                   November 21,2019
                                2022
                                                              UNITED STATES BANKRUPTCY JUDGE
